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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


ERIC LAMAR WOODLEY,

      Petitioner,                            Civil Case No. 13-11190
                                             Criminal Case No. 04-80335
v.                                           Hon. Gerald E. Rosen

UNITED STATES OF AMERICA,

     Respondent.
_________________________________/

                     ORDER DENYING PETITIONER’S
                     MOTION FOR RECONSIDERATION

                         At a session of said Court, held in
                       the U.S. Courthouse, Detroit, Michigan
                       on         October 14, 2016

                    PRESENT:       Honorable Gerald E. Rosen
                                   United States District Judge

      In an opinion and order dated September 8, 2016, the Court determined that

Petitioner Eric Lamar Woodley’s motion under 28 U.S.C. § 2255 to vacate his

sentence was subject to dismissal as untimely filed well beyond the usual one-year

period of limitation for seeking relief under § 2255. Through the present motion

filed on September 27, 2016, Petitioner seeks reconsideration of the Court’s

September 8 ruling on several grounds.
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      Under Local Rule 7.1(h)(3) of the Eastern District of Michigan,1 the Court

ordinarily “will not grant motions for rehearing or reconsideration that merely

present the same issues ruled upon by the court” in its challenged decision.

Petitioner’s present motion runs afoul of this rule, as it merely repeats the

arguments advanced in Petitioner’s underlying § 2255 motion and accuses the

Court of misconstruing the statements made in and the record accompanying this

motion. Petitioner’s bare disagreement or dissatisfaction with this Court’s

resolution of his § 2255 motion does not provide a basis for revisiting the Court’s

September 8 ruling. See Smith v. Mount Pleasant Public Schools, 298 F. Supp.2d

636, 637 (E.D. Mich. 2003) (explaining that “[a] motion for reconsideration is not

properly used as a vehicle to rehash old arguments”).

      For this reason,

      NOW, THEREFORE, IT IS HEREBY ORDERED that Petitioner’s

September 27, 2016 motion for reconsideration (docket #458) is DENIED.


                                         s/Gerald E. Rosen
                                         United States District Judge

Dated: October 14, 2016


      1
        Although this is a local rule for civil cases, it has been made applicable to
criminal cases pursuant to Local Criminal Rule 1.1 and Local Civil Rule 1.1(c) of this
District.

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                          CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on October 14, 2016, by electronic and/or ordinary mail.

                   s/Shawna C. Burns
                   Case Manager Generalist




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